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     EMC MORTGAGE CORPORATION
8
9                                        UNITED STATES DISTRICT COURT
10                                     NORTHERN DISTRICT OF CALIFORNIA
11

12 JAE DONG JUN, AKIHITO TAKAMURA, and                           Case No.: 07-cv-06281 MMC
   LEO TAKAMURA,
13                                                               JOINT RULE 26(F) REPORT
                 Plaintiffs,
14
       vs.
15
   EMC MORTGAGE COMPANY, and
16 DOES 1-10,

17                            Defendants.
18

19            Plaintiffs Jae Dong Jun, Akihito Takamura, and Leo Takamura, and defendant EMC

20   Mortgage Corporation, by and through their respective counsel, hereby agree to the following

21   pursuant to Rule 26(f) of the Federal Rules of Civil Procedure.

22   I.       INITIAL DISCLOSURES [Rule 26(f)(3)(A)]

23            The parties agree to make the disclosures required by FRCP Rule 26(a)(1), by April 4, 2008.

24   II.      DISCOVERY [Rule 26(f)(3)(B)]

25            EMC contends that discovery is needed on the following subjects:

26            1.           The basis on which plaintiffs contend that they made all payments pursuant to the

27   September 14, 2006 forbearance agreement.

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     11474/0087/661848.1                                                              JOINT RULE 26(f) REPORT
                                                                                      Case No. CV 07 06281 EMC.
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1              2.          The basis on which plaintiffs contend that EMC breached the September 14, 2006
2    forbearance agreement.
3              3.          The basis on which plaintiffs contend that EMC’s foreclosure on their former
4    property breached the forbearance agreement.
5              4.          The basis on which plaintiffs contend that they have suffered general, consequential,
6    and compensatory damages.
7              5.          The basis on which plaintiffs contend they are entitled to attorneys’ fees in this
8    action.
9    III.      ELECTRONIC INFORMATION [Rule 26(f)(3)(C)]
10             The parties agree that electronic information may be produced in pdf format.
11   IV.       CLAIMS OF PRIVILEGE AND WORK PRODUCT [Rule 26(f)(3)(D)]
12             EMC reserves its right to seek a protective order preventing the dissemination of
13   confidential and proprietary information outside this litigation.
14   V.        LIMITATIONS ON DISCOVERY [Rule 26(f)(3)(E)]
15             The parties agree that no changes should be made in the limitations on discovery.
16   VI.       OTHER ORDERS [Rule 26(f)(3)(F)]
17             The parties agree no other orders should be entered by the court under subdivision (c) or
18   under Rule 16(b) and (c) at this time.
19

20   DATED: March 17, 2008                                     SEVERSON & WERSON
                                                               A Professional Corporation
21

22
                                                               By:
23                                                                           Regina J. McClendon
24                                                            Attorneys for Defendant
                                                              EMC MORTGAGE CORPORATION, sued
25                                                            incorrectly herein as EMC Mortgage Company
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     11474/0087/661848.1                                                                JOINT RULE 26(f) REPORT
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1    DATED: March 17, 2008

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3                                            By:
                                                               Marc Voisenat
4
                                             Attorneys for Plaintiffs
5                                            JAE DONG JUN, AKIHITO TAKAMURA, and
                                             LEO TAKAMURA
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